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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

                           Petitioner,

  v.
                                                  Criminal Action No. 5:99CR13
                                                  Civil Action No. 5:00CV184
  STANLEY HOBEREK,                                (JUDGE STAMP)

                           Respondent.

                             REPORT AND RECOMMENDATION
                                     28 U.S.C. § 2255
                          THAT SECOND OR SUCCESSIVE PETITIONS
                                       BE DENIED

                                     I. PROCEDURAL HISTORY

            On December 14, 2005, the pro se petitioner, Stanley Hoberek, [“Petitioner”], filed a

  Motion to Vacate Conviction based on a Previously Unavailable Claim. The United States filed

  its response January 12, 2006. Petitioner filed a reply January 24, 2006. Petitioner filed a Motion

  to Vacate Judgment of Section 2255 Entered in this Case July 13, 2007.

            This matter is pending before me for initial review and report and recommendation

  pursuant to LR PL P 83.09.

                                               II. FACTS

       A.      Conviction

            On June 14, 1999, the petitioner was found guilty by a jury for the Northern District of

  West Virginia of Counts 1, 22, 23, and 24 of the indictment.

       B.      Sentencing
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          On September 16, 1999, the Court sentenced the petitioner to 324 months incarceration

  on count 1, 240 months incarceration on Count 22 and 60 months incarceration on Counts 23 and

  24. All sentences were to be served concurrently.

     C.      Appeal

          The petitioner filed an appeal. By decision dated August 11, 2000, the Fourth Circuit

  Court of Appeals affirmed the petitioner’s conviction and sentence.

     D.      Federal Habeas Corpus

          Petitioner filed his motion to Vacate, Set Aside or Correct Sentence by a person in

  Federal Custody Under 28 U.S.C. § 2255 on October 25, 2000. The motion was denied on April

  11, 2002. Petitioner did not appeal.

          On December14, 2005, Petitioner filed a Motion to Vacate Conviction based on a

  previously unavailable claim which constitutes a motion to Vacate, Set Aside, or Correct

  Sentence by a Person in Federal Custody under 28 U.S.C. § 2255. Likewise, petitioner’s Motion

  to Vacate Judgment of Section 2255 Entered in this Case constitutes a Motion to Vacate, Set

  Aside, or Correct Sentence by a Person in Federal Custody under 28 U.S.C. § 2255.

     E.      Recommendation.

          Based upon a review of the record, I recommend that petitioner’s motions be denied and

  dismissed from the docket for lack of jurisdiction because they are second or successive motions.

                                               III.   ANALYSIS

                 Section 2255 provides as follows regarding a second or successive motion:

                 A second or successive motion must be certified as provided in section 2244 by a
                 panel of the appropriate court of appeals to contain –

                 (1) newly discovered evidence that, if proven and viewed in light of the evidence
                     as a whole, would be sufficient to establish by clear and convincing evidence
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                     that no reasonable factfinder would have found the movant guilty of the
                     offense; or

                 (2) a new rule of constitutional law, made retroactive to cases on collateral review
                     by the Supreme Court, that was previously unavailable.

         In order for a petition to be considered successive, the first petition must have been

  dismissed on the merits. Harvey v. Horan, 278 F.3d 370 (4th Cir. 2002). The petitioner’s first §

  2255 motion was considered on the merits. The petitioner’s current § 2255 motions challenge the

  same sentence as was challenged in his first § 2255 motion. Thus, the undersigned finds that the

  current § 2255 motion is a successive motion.

         However, the petitioner did not obtain authorization from the Fourth Circuit Court of

  Appeals to file his successive § 2255 motions in this Court. Thus, pursuant to 28 U.S.C. § 2244

  and 28 U.S.C. § 2255, the Court has no jurisdiction over this matter and must either dismiss the

  motion for lack of jurisdiction or transfer it to the Fourth Circuit Court of Appeals so that it may

  perform its “gatekeeping function under § 2244(b)(3).” See United States v. Winestock, 340 F.3d

  200, 207 (4th Cir. 2003).

          It should be noted that petitioner’s first motion was based on the decision of Crawford v.

  Washington, 541 U.S. 36 (2004) claiming that the grand jury testimony of Louie Franchino,

  deceased, which was not subject to cross examination, was admitted at his trial. The United

  States Supreme Court recently held that Crawford is not retroactive. Whorton v. Bockting, 127

  S.Ct. 1173 (2007). Winestock held a brand new allegation of constitutional error will virtually

  always implicate the rules governing successive applications. 340 F.3d at 207.

         It should also be noted that petitioner’s second motion was based upon the decision in

  Apprendi v. New Jersey, 530 U.S. 466 (2000). This issue was decided in petitioner’s original §

  2255 motion.
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            Consequently, I recommend both of Petitioner’s § 2255 motions be denied with

  prejudice for lack of jurisdiction.

                                               IV.      RECOMMENDATION

            The undersigned recommends that the Court enter an Order DENYING WITH

  PREJUDICE Petitioner’s motions and dismissing the case from the docket for lack of

  jurisdiction because his motion is a successive motion and he has not received authorization from

  the Fourth Circuit Court of Appeals to file a successive § 2255 motion.

  Any party may file within ten (10) days after being served with a copy of this Recommendation

  with the Clerk of the Court written objections identifying the portions of the Recommendation to

  which objections are made, and the basis for such objections. A copy of such objections should

  also be submitted to the Honorable Frederick P. Stamp, Jr., United States District Judge. Failure

  to timely file objections to the Recommendation set forth above will result in waiver of the right

  to appeal from a judgment of this Court based upon such Recommendation.1

            The Clerk of Court is directed to mail a copy of this Recommendation to all parties of

  record.

            Dated: July 18, 2007



                                                                /s/ James E. Seibert____________
                                                                JAMES E. SEIBERT
                                                                UNITED STATES MAGISTRATE JUDGE




  1
   28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984);
  Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).
